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The following constitutes the ruling of the court and has the force and effect therein described.




Signed July 14, 2022
______________________________________________________________________




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION

                                                            §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,                    §
                           Plaintiff,                       § Adv. Proc. No. 21-03082-sgj
                                                            §
      vs.                                                   § Case No. 3:21-cv-881-X
                                                            §
      HIGHLAND CAPITAL MANAGEMENT FUND                      §
      ADVISORS, L.P.,                                       §
                                                            §
                                       Defendant.           §


                                 ORDER CONTINUING TRIAL DOCKET CALL

             Trial docket call in the above-captioned adversary proceeding (the “Adversary

     Proceeding”) is hereby continued from July 11, 2022 at 1:30 p.m. (Central Time) to September

     12, 2022 at 1:30 p.m. (Central Time).

                                              ###End of Order###




     DOCS_NY:45339.1 36027/003
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                                                                United States Bankruptcy Court
                                                                  Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                          Adv. Proc. No. 21-03082-sgj
Highland Capital Management Fund Advisor,
      Defendant
                                                      CERTIFICATE OF NOTICE
District/off: 0539-3                                                    User: admin                                                                 Page 1 of 2
Date Rcvd: Jul 14, 2022                                                 Form ID: pdf001                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 16, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                      Date/Time                 Recipient Name and Address
ust                     + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                          Jul 14 2022 21:17:00      United States Trustee, 1100 Commerce Street,
                                                                                                                    Room 976, Dallas, TX 75242-0996
ust                     + Email/Text: ustpregion07.au.ecf@usdoj.gov
                                                                                          Jul 14 2022 21:17:00      United States Trustee - AU12, United States
                                                                                                                    Trustee, 903 San Jacinto Blvd, Suite 230, Austin,
                                                                                                                    TX 78701-2450

TOTAL: 2


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 16, 2022                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 14, 2022 at the address(es) listed below:
Name                                Email Address
Deborah Rose Deitsch-Perez
                                    on behalf of Defendant Highland Capital Management Fund Advisors L.P. deborah.deitschperez@stinson.com,
                                    patricia.tomasky@stinson.com;kinga.mccoy@stinson.com

Melissa S. Hayward
                                    on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Michael P. Aigen
                                    on behalf of Defendant Highland Capital Management Fund Advisors L.P. michael.aigen@stinson.com,
           Case 21-03082-sgj Doc 59 Filed 07/16/22                      Entered 07/16/22 23:15:35            Page 3 of 3
District/off: 0539-3                                      User: admin                                               Page 2 of 2
Date Rcvd: Jul 14, 2022                                   Form ID: pdf001                                          Total Noticed: 2
                          stephanie.gratt@stinson.com

Zachery Z. Annable
                          on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 4
